BRYAN SCHRODER
United States AuomeY

STEPTTAN A. COLLINS
Assistant United States Attorney
Federal Building & U.S. Courthouse
222 West7th Avenue, Room 253
Anchorage, Alaska 995 l3-7567
Phone: (907) 271-5071
Fax (907) 271-1500
Email: stephan.collins@usdoj.gov

Attomeys for Plaintiff


                    IN T}IE T]NITED STATES DISTRICT COURT

                             FOR T1IE DISTRICT OF ALASKA

 I.JNITED STATES OF AMERICA'                ) No.3:17-cr-00129-SLG
                                            )
                     Plaintiff,             )
                                            )
                                                PLEAAGREEMENT
        vs.                                 )
                                            )
 JEFFREY GEORGE ROBINSON,                   )
                                            )
                         Deferdant.
                                            )

              Unless the parties jointly inform the Court in writing of any
              additionat agreements, this document in its entirety
              contains the terms of the plea agreement between the
              defendant and the United States. This agreement is limited
              to the District of Alaska; it does not bind other federal,
              state, or local prosecuting authorities.




       Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 1 of 15
    I.      SUMMARY OF AGREEMf,NT,FEDERALRULE OF CRIMINAL
            PROCEDURE II

            A.         Summary of Agreement

            The defendant agrees to plead guilty to the following count(s) of the Indictment in

    this case: Count: 1 - Drug Conspiracy, in violation of 21 U.S.C. $$ 846 and 841(a)(l). In

    support of the plea, the defendant will admit facts that support the imposition of the

    penalties set forth in 2l U.S.C. $ 841 (bXlXB). The United States agrees not to

    prosecute the defendant further for any other offense related to the event(s) that resulted

    in the charge(s) contained in the Indictment. Prior to the defendant's entry of plea., the

    United States will withdraw the 2l U.S.C. $ 851 liled at Docket 30 against this

    defendant. ln exchange for this, the defendant and the United States agree that the Court

    sfiouliffinpose a sentence of-l0fmonttrs ofim-prisonment. Thee f,efenitrnt wAl wdve aII
-
    rights to appeal the conviction(s) and sentence imposed under this agreement. The

    defendant will also waive all rights to collaterally attack the conviction(s) and sentence,

    except on the grounds of ineffective assistance of counsel or the voluntariness of the

    plea(s).

            B.         Federal Rule of Criminal Procedure 11

            Unless the parties otherwise infonn the Court in writing Federal Rule of Criminal

    Procedure I l(c)(l)(A) and (B) will control this plea agreemenl Thus, the defendant may

    not withdraw from this agreement or the guilty plea(s) if the Court rejects the parties'

    sentencing recommendations at the sentencing hearing.




    U.S. v. Jeffrey George Robinson
    3: l7-cr-00129-l   -SLG                   Page 2 of 15




               Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 2 of 15
tr.     CHARGES, ELEMENTS, FACTUAL BASIS, STATUTORY PENALTIES
        AIYD OTHER MATIERS AITECTING SENTENCE

       A       Charges

                  l.   The defendant egrees to ptead guilty to the following count(s) of

                       the Indictment:

       Count   l: Drug Conspiracy, a violation of 21 U.S.C. $$ 846, 8al(a)(l), and
(bx1)@).

       B.      Elements

       The elements of the charge(s) in Count I to which the defendant is pleading guilty

are as follows:

               l.      Beginning at some exact time unknown, but at least on or about

                       January 1, 2Ol7 , and ending on or about January 24, 2017 , therc was

                       an agreement between two or mo. re persons to distribute or to

                       possess with intent to distribute a controlled substance;

               2.      The defendant joined in the agreement knowing ofits purpose and

                       intendiog to help accomplish that purpose; and

               3.      The amormt of controlled substance involved was 5 grams or more

                       of actual methamphetaming which was known by or reasonably

                       foreseeable to the defendant.

       C.      Factual Basis

       The defendant admits the truth of the allegations in Count I of the Indictment and

the tnrth of the following statemen! and the parties stipulate that the Court may rely upon



U.S. v. Jefftey George Robinson
3: l7-u-00129-1-SLG                       Page 3 of l5




       Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 3 of 15
this statement to support the factual basis for the guilty plea(s) and for the imposition of

the sentence:

       Sometime before, but at least between January l, and ending on lanuary 24,2O17,

JEFFREY GEORGE ROBINSON agreed to regularly distribute methamphetamine to

other persons il Anchorage and Wasilla Alaska. ROBINSON knew that the

individual(s) to whom he distributed controlled substances were in turn distributing those

controlled substances to others. ROBINSON knew what he was doing when he agreed to

distribute and to possess with intent to distdbute a contolled substance. During this

time, ROBINSON himself did in fact possess with intent to distribute and did distribute

methamphetarnine to others. On January 3, 2017' ROBINSON distributcd more than 5

grams of actuat methamphetamine to another person in Anchorage, Alaska. ROBINSON

had previously agreed to supply a controlled substance to this same person, who

ROBINSON knew dealt in a controlled substance in Wasilla Alaska and that this other

person was going to redistribute what ROBINSON had delivered to him.




U.S. v. Jeffiey George Robinson
3: l7-cr-00129-1-SLG                      Page 4 of l5




         Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 4 of 15
        D.      Statutory Penalties and Other Matters Affecting Sentence

                l.     Statutory Penalties

        The maximum statutory penalties applicable to the charges to which the defendant

is pleading guilty, based on the facts to which the defendant will admit in support of the

guilty plea(s), are as follows:

               Count l:21 U.S.C. g 846 @rug Conspiracy)

                l) five years' (mandatory minimum) to 40 years' imprisonment;
               2) a five million dollar fine;

               3) a $100 special assessment; and

               4) four years' (mandatory minimum) to Iife of supervised release.

               2.      Other Matters Alfecting Sentencc

                       a.         Conditions Afiecting the Defendtnt,s Sentence

       The following conditions may also apply and affect the defendant's sentence:

l) pursuant to Comment 7 of U.S.S.G. $ 5E1.2, the Court may impose an additional fine
to pay the costs to lhe govemment of any imprisonment and supervised release term;

2) pursuant to l8 U.S.C.$ 3612(D, unless otherwise ordered if the Court imposes a fine

of more than $2,500, interest will be charged on the balance not paid withh 15 days after

the judgment date; 3) upon violating any condition of supervised release, a firther term

of imprisonment equal to the period of the supervised release may be imposed with no

credit for the time already spent or1 supervised release; 4) the Court may order the

defendant to pay restitution pursuant to the 18 U.S.C. $ 3663 and U.S.S.G. g 5E1.1, and




U.S. v, Jeffiey George Robinson
3: l7-cr-00129-l-SLG                        Page 5 of l5




       Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 5 of 15
if l8 U.S.C. S 36634 (mandatory restitution for certain crimes) applies, the Court sh2ll
order the defendant to pay restitution.

                       b.     Payment of Special Assessment

       The defendant agrees to pay the entire special assessment in this case on the day

the Court imposes lhe sentence. All payments will be by check or money order, and are

to be delivered to the Clerk of Court, United States District C ourt,222 W. 7th Ave. Box

4, Rm. 229, Anchorage, AK 99513-7 564.

                       c.     ConsequencesofFelonyConviction

       Any person convicted ofa federal felony offense may lose or be denied federal

benehts including any grants, loans, licenses, food starnps, welfare or other forms of

pqblic,qrsiqp4qe..SlIglg1 thglC{to own or possess q1I {,r_9aryg, the right to vote, the

right to hold public office, and the riglrt to sit on a jury. If applicable, any defendant who

is not a United States citizen may be subject to deportation from the United States

following conviction for a criminal offense, be denied citizenship, and not permitted to

retum to the United States unless the defendant specifically receives the prior approval of

the United States Attorney General. In some circumstances, upon conviction for a

criminal offense, any defendant who is a naturalized United States citizen may suffer

adverse immigralion consequences, including but not limited to possible denaturalization.

       E.      Restitution

       There is currenfly no identifiable restitution owed for the offense(s) of conviction.

The Court will have sole discretion ultimately to determine if the defendant has liability

for any restitution.

U.S. v- Jeffiey George Robinson
3:17-cr{0129-1-SLG                        Page6ofl5


         Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 6 of 15
IIL     ADVISORY UNTTED STATES SENTENCING GIIIDELTNES, cUIDELTttE
        APPLICATION AGREEMENTS, SENTENCING RECOMMENDATIONS
        A       Advisory United States Sentencing Guidelile

        The Court must consult the advisory United Slates Sentencing Commission

Guidelines [U.S.S.G.] as well as the factors set forft in 18 U.S.C. g 3553(a) when

considering the sentence to impose. The U.S.S.G. do not establish the statutory

maximum or minimum sentence ryplicable to the offense(s) to which the defendant is

pleading guilty. The U.S.S.G. are not mandatory and the Court is not bormd to impose a

sent€nce recommended by the U.S.S.G.

       B,      GuidelineApplicationAgreements

       The parties agree to recommend a sentence wittrin the advisory guideline rang, as

determined by the Court Otherwise, the parties have no agrcements on any guideline

applications unless set forth below in this section.

               1.       Acceptance of Responsibility

       If the United States concludes that the defendant has satisfied the criteria set out in

U.S.S.G. $ 3El .1 and the applicable application notes, the United States agrees to

recommend the defendant for a two level downward adjustnent for acc€ptance of

responsibility an4 if U.S.S.G. $ 3E1.1(b) applies, to move for the additional one level

adjustrnent for acceptance of responsibility. If, at any time prior to imposition ofthe

sentence, the United States concludes that the defendant has failed to fully satisS the

criteria set out in U.S.S.G. $ 3E1.1, or has acted in a marmer inconsistent with acceptance




U.S- v- Jeffrey ceorge Robinson
3: l7-cr-00129- 1-SLG                    Page 7 of 15




        Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 7 of 15
of responsibility, the United States will not make or, if already made, will withdraw this

recommendation and motion.

       C.     SentencingRecommendations

       The United States Probation OIIice will prepare the defendant's pre-sentence

report in which it will include a recommended calculation of the defendant's sentence

range as calculated under the U.S.S.G. and applicable law. The parties will mutually

recommend that the Court should impose a sentence of 108 months of imprisonmenl.

IV. ADDITIONAL AGREEMENTS BY T]NITED STATES
       In exchange for the defendant's guilty plea(s) and the Court's acceptance of the

defendant's plea(s) and the terms of this agteemen! the United States agrees that it will

not prosecute the defendant further for any other offense - now known - arising out of

the subject of the investigation related to the charges brought in the Indictment in this

case and the defendant's admissions set forth in Section II.C.

       Provided, however, if the defendant's guilty plea(s) or sentence is/are rejected,

withdrawn, vacated, reversed, set aside, or modified, at any time, in any proceeding, for

any rea;on, the United States will be free to prosecute the defendant on all charges arising

out of the investigation of this case including any charges dismissed pursuant to the terms

of this agreemen! which charges will be automatically reinstated as well as for perjury

and false statements. The defendant hereby aglees that he/she waives any defense that

the statute of limitations bars the prosecution of such a reinstated charge. On the

condition that the defendant does plead guilty under the terms of this agreement and does




U.S. v. Jeffiey George Robirson
3: l7-cr{0129-l-SLG                      Page 8 of l5



         Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 8 of 15
not breach its conditions, the United States agrees to withfraw the 2l U.S.C. $ g5l

notice-filed at Docket 3O-prior to the defendant's entry ofplea.

v       WAIVER OF TRIAL RIGHTS, APPELLATE RIGHTS, COLLATERAL
        ATTACK RIGHTS, CLAIM FOR ATTORNEY FEES AND COSTS, AI\ID
        RULE 4TO

        A.      Trial Rights

        Being aware of the following the defendant waives these trial rights:

               - If pleading to an Infomtation, the right to have the charges presented to
                   the grand jury prior to entering the guilty plea;

               - The right to a speedy and public trial by jury on the factual issues
                   establishing guilt or any fact affecting the mandatory minimum and

                   statutory penalties, and any issue affecting any interest in any assets

                   subject to forfeiture;

               - The right to object to the composition of the grand or trial jury;
               - The right to plead not guilty or to persist in that plea if it has already
                   been made;


               - The right to be presumed innocent and not to sulfer any criminal penalty
                   unless and rmtil the defendant's guilt is established beyond a reasonable

                   doubq

               - The right to be represented by counsel at trial and if necessary to have a
                   counsel appointed at public er(pense to represent the defendant at trid    -
                   the defendant is not waiving the right to have counsel continue to

                   represent the defendant during the sentencing phase of this case;

U.S. v. Jeffiey Ceorge Robinson
3:17-cr$129-l-SLG                           Page 9 of 15



        Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 9 of 15
               - The right to confront and cross examine witnesses against the defendan!
                     and the right to subpoena witnesses to appear in the defendant's behalf;


               - The right to rs6"in silent at fial, with such silence not to be used
                     against the defendant, and the right to testif in the defendant's own

                     behalf; and

               - The righr to contest the validity of any searches conducted on the
                     defendant's property or person.

       B.      Appellate Rights

       The defendant waives the right to appeal the conviction(s) resulting from the entry

of guilty plea(s) to the charges set forth in this agreement. The defendant further agrees

that ifrhe.Courtimposesasentencelbat doesnot exced the.statutory maximum p9lal-lies-

- as set forth in Section II.D above in this agreernen! the defendant waives without
exception the right to appeal on all grounds contained in 18 U.S.C. $ 3742 the sentence

the Court imposes. The defendant understands that this waiver includes, but is not

limited to, forfeiture (if applicable), terms or conditions of probation (if applicable) or

supervised release, any fines or restitution, and any and all constitutional [or legal]

challenges to defendant's conviction[s] and guilty plea[s], including arguments that the

statute[s] to which defendant is pleadrng guilty [is/are] unconstitutional, and any and all

claims that the statement of facts provided herein is insuflicient to support defendant's

plea[s] of guilty.




U.S. v. Jefftey George Robinson
3: l7-cr40129- I -SLG                      Page l0 of l5



         Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 10 of 15
        By waiving these rights, the defendant undentands that the conviction(s) and

sentence the court imposes will be final. No other court will conduct appellate review of

the conviction(s) or the sentence.

        The defendant agrees that the appellate and collateral attack waivers contained

within this agreement will apply to any 18 U.S.C. g 3582(c) modifications, as well as the

district court's decision to deny any such modification.

       Should the defendant file a notice of appeal in violation of this agreement, it will

corstitute a material breach of the agrcement. The govemnent is free to reinstate any

dismissed charges, and withdraw any motions for downward departures, or sentences

below the mandatory minimum made pursuant to l8 U.S.C. $ 3553(e).

       C.      Collateral Attack Rights

       The defendant agrees to waive all rights to collaterally auack the resulting

conviction(s) and/or sentence - lnglgding forfeiture (if applicable) or terms or conditions

of probation (if applicable) or supervised release, and any fines or restitution - the Court

imposes. The only exceptions to this collateral afiack waiver are as follows: l) any

challenge to the conviction or sentence alleging ineffective assistance of counsel - based

on information not now knowD to the defendant and which, in the exercise of reasonable

diligence, could not be known by the defendant at the time the Court imposes sentence;

and 2) a challenge to the vohmtariness of the defendant's guilty plea(s).

       D.      Claim for Attorney Fees and Costs

       Because this is a negotiated resolution of the case, the parties waive any claim for

the award of attorney fees and costs from the othef party.

U.S. v. JefFey George Robinson
3:17-cr-00129-1-SLG                     Page   ll of 15

       Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 11 of 15
       E.     Evidence Rule 410 and Fed. R Crim. P. tf (O

       By signing this agreement, the defendant admits the truth of the facts in the

Factual Basis portion of this agreement set forth in Section tr'C. The defendant agrees

that the statements made by him in sigrring this agreement shall be deemed usable and

admissible against the defendant as stipulations in any hearing, trial or sentencing that

may follow. The foregoing provision acts as a modification and express waiver of Federal

Rule of Evidence 410 and Federal Rule of Criminal Procedure l1(f), and is effective

upon the Court's acceptance of the guilty plea(s) in this case. This provision applies

regardless of whether the Court accepts this plea agreement.

\/I.   ADEQUACYOFTHEAGREEMENT
       Pursuant to Local Criminal Rule I 1.2(d)(7) and (8), this plea agreement is

appropriate in that it conforrns with the sentencing goals that would otherwise be

applicable to the defendant's case if the defendant had gone to trial and had been

convicted on all counts in the charging instrument.

Vtr. THE DEFEI\IDAFIT'S ACCEPTAI\TCE OF THE TERMS OF THIS PLEA
       AGRE,EMENT

       I, JEFFREY GEORGE ROBINSON, the defendant, affinn this document contains

all of the agreements made between me - with the assistance of my attorney - and the

United States regarding my plea(s). There are no other promises, ,rssurances, or

agreements the United States has made or entered into with me that have affected my

decision to enter any plea of guilty or to enter into this agreement. If there are any




U.S. v. Jeffiey George Robinson
3: l7-cr{0129- I SLG                     Page 12 of l5



        Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 12 of 15
additional promises, assurances, or agreements, United States and I will jointly inform

the Court in writing before I enter my guilty plea(s).

       I understand that no one, including my attomey, can guarantee the outcome of my

case or what sentence the Court may impose if I plead guilty. If anyone, including my

attomey, has done or said anything other than what is contained in this agreemen! [ will

inforrr the Court when I stand before it to enter my plea.

       I enter into this agreement understanding and agreeing that the conditions set forth

herein are obligatory and material to this agreement and that any failure on my part to

fulfill these obligations will constitute a material breach of this agreement. If I breach

this agreement, I agree the United States, in its sole discretion, may withdraw from this

agreement and may reinstate prosecution against me on any charges arising out of the

invesigation in this matter. If my compliaace with the terms of this plea agreement

becomes an issue, at an appropriate hearing, during which I agree any of my disclosures

will be admissible, the Court will determine whether or not I have violaled the terms of

this agreemenl I understand the govemment's burden to prove a breach will be by a

preponderance of the evidence.

       I understand the Court will ask me under an oath to answer questions about the

offense(s) to which I am pleading guilty and my understanding of this plea agree,ment. I

understand that I may be prosecuted ifI make false statements or give false answers and

may suffer other consequences set forth in this agreement.

       I have read this plea agreement carefirlly and understand it thoroughly. I know of

no reason why the Court should find me incompetent to enter into this agreement or to

U.S. v. Jeffiey George Robinson
3:17-cr-00129-l-SLG                      Page 13 of 15




      Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 13 of 15
enter my plea(s). I enter into this agreement knowingly and voluntarily. I understand

that anyttring that I discuss with my atorney is privileged and confidential, and cannot be

revealed without my permission. Knowing this, I agree that this document will be filed

with the Court.

       I am fully satisfied with the representation given me by my attorney and 2m

prepared to repeat this statement at the time I stand before the Court and enter my guilty

plea(s). My attomey and I have discussed all possible defenses to the charge(s) to which

I am pleading guilty. My attomey has investigated my case and followed up on any

information afld issues I have raised to my satisfaction. My attomey has taken the time to

fully explain the legal and factual issues involved in my case to my satisfaction. We have

disqarqed tbe qtatulq(O-eppl9qb!9 lo rny q$,e4q9 444! sq4tengg-qyell as the possible     -
effect the U.S.S.G. may have on my satence.

        Based on my complete understanding of this plea agreemen! I therefore admit that

I am guilty of Count I - Drug Conspiracy, in violation of 2l U.S.C. $$ 846, 84l(aXl)'

and (bXl)(B), of the Indictment.



DATED:        /D - l-/x
                                                             GEORGE ROBINSON




        As counsel for the defendant, I have conveyed all formal plea ofl-ers' I have
 discussed the terms of this plea agreement with the defendant, have fully explained the
 charge(s) to which the defendant is pleading guilty, the necessary elements thereto, all
 possibl" defenses, and the consequences of a guilty plea to a felony. Based on these
 discussions, I have no reason to doubt that the defendant is knowingly and voluntarily
 entedng into this agreemenl and entering a plea of guilty. I know of no reason to

 U.S. v. Jeffrey George Robinson
 3: l7-cr-00129-l -SLG                   Page l4 of l5



         Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 14 of 15
question the defendant's competence to make these decisions. If, prior to the imposition
of sentence, I become aware of any reason to question the defendant's competency to
enter into this plea agreement or to enter a plea of guilty, I will immediately inform the
court.


DATI]D:             fl)   't'lt                              W, ROBINSON
                                                  Attorney for ROBINSON




       On behalf of the United States, the following accepts the defendant's offer to plead
guilty under the terms of this plea agreement.


DATED:
               r   o,/z/ t a
                                                  United        of America
                                                  United States Attorney




U.S. v. Jeffiey George Robinson
3: l7-cr-00129-l -SLG                   Page l5 of l5



      Case 3:17-cr-00129-SLG Document 96 Filed 10/02/18 Page 15 of 15
